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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 08-20319-CR-GRAHAM

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ERICK BERNAL,

         Defendant.
                                     /

                              ORDER ON NEBBIA STIPULATION

         This matter arose upon the delivery to chambers of a mass of unstapled and

  mixed up papers including signed bond forms, letters between counsel/investigator for

  defendant and counsel for the government, Affidavits of persons who are supplying

  funds for the cash deposit into the registry of the Court, various mixed-up bank

  statements, pay stubs, one Cashier’s check in the amount of $11,000.00, and a second

  Cashier’s check in the amount of $4,000.00, both payable to the US Courts. There is also

  a document entitled “Stipulated and Agreement” which states that the parties stipulate

  and agree that the Nebbia requirement and bond conditions for the $150,000.00 ten

  percent bond have been met.

         The undersigned has unsuccessfully attempted to have these documents

  retrieved by counsel for the defendant, and an appropriate Nebbia proffer filed, for the

  past two days. In addition, the undersigned has sent via facsimile a form which sets

  forth the requirements of the undersigned Magistrate Judge for a Nebbia stipulation. A

  copy of this form is attached to this Order. Despite the fact that the requirements were

  not met, the undersigned has sifted through the mass of paperwork, and determined that

  the source of the $15,000.00 being deposited into the registry of the Court to secure the
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  release of the defendant is $10,000.00 from Yanko Bernal, the brother of Erick Bernal,

  which is derived from his savings from earnings at Weatherproof Maintenance Corp.,

  T.A. mechanical, and Hill York mechanical Contractors; $1,000.00 from Minerva Batista,

  which is derived from her earnings at Leon Medical Center; and $4,000.00 from Sandro

  Rios, which is derived from his earnings in connection with his ownership of Pott ‘N Soil

  Corp.

          Based upon the stipulation and the documentation, the undersigned finds that the

  Nebbia condition has been satisfied. In the future, counsel is cautioned to comply with

  the requirements of the Court regarding the satisfaction of a Nebbia requirement, and is

  instructed that all checks are to be delivered to the financial section of the Clerk’s Office.

          Counsel for Defendant is directed to retrieve the underlying documentation from

  the chambers of the undersigned Magistrate Judge prior to close of business Friday,

  May 9, 2008.

          Therefore, based upon a review of the record as a whole, it is hereby

          ORDERED AND ADJUDGED that the Nebbia condition is satisfied and the bond

  may be posted.

          DONE AND ORDERED in chambers in Miami, Florida, on May 8, 2008.




                                                    ANDREA M. SIMONTON
                                                    UNITED STATES MAGISTRATE JUDGE
  Copies furnished via CM/ECF to:
  The Honorable Donald L. Graham,
        United States District Judge
  Counsel of record




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                                    Nebbia Stipulations

  1. For corporate surety bonds, the Stipulation must identify the property being used as
  collateral, as well as the source of the premium being paid to the bondsman. Do not
  include any personal identification numbers, such as social security numbers, bank
  account numbers, etc. The property and source may be identified by the name of the
  person who owns the collateral or is paying the money, together with the address of the
  property, the name of the bank from which the money was withdrawn, etc.

  2. For percentage bonds, the stipulation should identify the name of the person who is
  depositing the money, and the source of those funds. As above, do not include personal
  identification numbers.

  3. Do not provide the underlying documentation–the identification of the person and
  source are sufficient if there is a stipulation.

  4. A proposed order in the following form should be included with the stipulation:

        Based upon the stipulation of the parties and the information contained
        therein, the Court finds that the Nebbia condition has been satisfied, and
        that the bond to secure the release of Defendant                       may
        be posted.

  5. The order can be included at the bottom of the Stipulation, or in a separate document.

  6. The Stipulation and Order may be electronically filed, or hand delivered to the
  Magistrate’s Section of the Clerk’s office. DO NOT BRING ANY DOCUMENTS DIRECTLY
  TO CHAMBERS UNLESS DIRECTED TO DO SO BY THE CLERK’S OFFICE.




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